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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:03-cr-00056-MP-AK

ARTHUR LOUIS PATTERSON,

      Defendant.
___________________________/
                                          ORDER

       This matter is before the Court on Doc. 462, Defendant’s Motion for Reconsideration of

this Court’s order at Doc. 460. In the previous order, the Court denied Mr. Patterson’s motion to

reduce sentence under the crack cocaine Guidelines amendment. The defendant’s base offense

level remained at 38 even after the amendment because of the amount of drugs attributable to

defendant. Because the amendment does not lower the Guideline range applicable to this

defendant, § 1B1.10(a)(1) does not permit the Court to reduce the original sentence. Thus, the

Court never reaches the issue discussed by Defendant in his motion to reconsider -- whether the

Court can go below the amended Guidelines range in cases where the Court previously went

below the range because of Rule 35(b) or 5K1.1. Here, however, there is no amended

Guidelines range, because the amendment did not lower his range. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       The motion for reconsideration, doc. 462, is denied.

       DONE AND ORDERED this 28th day of July, 2008

                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
